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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 11-20468-12

v.                                                   SENIOR UNITED STATES DISTRICT JUDGE
                                                     ARTHUR J. TARNOW
D-12 LOKESH TAYAL
                                                     MAGISTRATE JUDGE MONA K. MAJZOUB
               Defendant.
                                             /


     ORDER DENYING DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL
                                [596]

       Defendant Lokesh Tayal moves for judgment notwithstanding the verdict or for a new trial

following a conviction by jury of conspiracy to commit health care fraud in violation of 18 U.S.C.

§ 1349. For the reasons stated below, Defendant’s Motion for Judgment of Acquittal is DENIED.

                             Procedural and Factual Background

       Beginning on July 3, 2012, a jury trial was held in which Defendant Lokesh Tayal was tried,

along with six other defendants, for conspiracy to commit health care fraud. On August 10, 2012,

the jury found Defendant Lokesh Tayal guilty of conspiracy to commit health care fraud in violation

of 18 U.S.C. § 1349. Five co-defendants were also found guilty of conspiracy to commit health care

fraud: Babubhai Patel, Komol Acharya, Ashwini Sharma, Viral Thaker, and Brijesh Rawal. The

jury was unable to reach a verdict with respect to co-defendant Harpreet Sachdeva.

       On October 6, 2012, Defendant Tayal filed the instant Motion for Judgment of Acquittal

[596]. On January 7, 2013, Defendant Tayal filed a Motion to Amend [673] his Motion for

Judgment of Acquittal, incorporating a Motion to Reconsider [669] filed by his co-Defendant

Babubhai Patel.
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                                              Standard

       Federal Rule of Criminal Procedure 29(c)(2) permits a court to set aside a verdict of guilty

and to enter a judgment of acquittal. In doing so, “the relevant question is whether, after viewing

the evidence in the light most favorable to the prosecution, any rational trier of fact could have found

the essential elements of the crime beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307,

319 (1978) (citing Johnson v. Louisiana, 406 U.S. 356, 362 (1972)) (emphasis in original); see also

United States v. Conatser, 514 F.3d 508, 518 (6th Cir. 2008). If any rational trier of fact could find

the essential elements of the crime beyond a reasonable doubt, the motion must be denied. “All

reasonable inferences must be drawn in favor of the jury’s verdict.” Conaster, 514 F.3d at 518.

When evaluating the evidence in a Rule 29 motion, “the court must refrain from independently

judging the credibility of witnesses or weight of the evidence.” United States v. Donaldson, 52 F.

App’x 700, 706 (6th Cir. 2002). “Circumstantial evidence may sustain a conviction so long as the

totality of the evidence was substantial enough to establish guilty beyond a reasonable doubt.” Id.

(citing United States v. Phibbs, 999 F.2d 1053, 1064 (6th Cir. 1993)).

                                               Analysis

       Defendant Tayal advances several arguments:

Lack of Evidence

       First, Defendant Tayal suggests that the Government advanced no evidence from which a

rational trier of fact could conclude beyond a reasonable doubt that Defendant “knowingly and

willfully” joined the conspiracy alleged in the indictment.

       In response, the Government notes the following pieces of evidence:

       •       Arpitkumar Patel testified that Defendant Tayal told him that Detroit Care Home

               gave business to Tayal’s pharmacy, Grand River Pharmacy, because Babubhai Patel


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                paid the owner $10,000 a year. In turn, Tayal engaged in billing but not dispensing

                drugs for Detroit Care Home.

        •       Testimony from Arpitkumar Patel, Lavar Carter, and Pinakeen Patel established that

                Defendant Tayal engaged in billing but not dispensing drugs with the Visiting

                Doctors of America, who Babubhai Patel was also involved with.

        •       Wiretapped phone calls between Defendant Tayal and Babubhai Patel, contrary to

                Defendant’s assertion that they contained discussion of “routine business

                operations,” involved discussion of “Marcus,” the owner of a home health care

                business that provided patients to Tayal. Patel indicated he could get Marcus to

                provide Tayal with 70 additional patients. Marcus was later raided by the FBI,

                prompting a conversation in which Tayal and Patel agreed that “nobody can touch”

                the pharmacy.

        Taking all of the evidence together, viewed in the light most favorable to the Government

and drawing all reasonable inferences in favor of the jury’s verdict, a rational trier of fact could have

found that the evidence establishes beyond a reasonable doubt that Defendant Tayal knowingly and

willingly entered into a conspiracy to commit health care fraud by billing and not dispensing

medications as part of an overall scheme overseen by Babubhai Patel.

Variance from Indictment

        Second, Defendant argues that the Government’s proofs at trial varied from the indictment

in failing to prove one overarching conspiracy but rather demonstrated a number of separate

conspiracies joined by a “hub” in the form of Babubhai Patel. Defendant argues that this case is

therefore similar to Kotteakos v. United States, 328 U.S. 750, 765 (1946).




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       Kotteakos involved a number of fraudulent housing loan applications submitted by a

common broker, where each individual applicant had no contact or knowledge of the other. Here,

Babubhai Patel was not the hub or a mere common link of independent illegal activity, but was

alleged to have overseen a large conspiracy involving multiple pharmacies and co-Defendants.

Evidence at trial established that Defendant Tayal was aware of the roles of Babubhai Patel,

Arpitkumar Patel, Pinakeen Patel, and Lavar Carter, and also was involved with entities that helped

perpetrate the conspiracy such as Detroit Home Care and Visiting Doctors of America. The Court

therefore finds this case quite different from Kotteakos, as there was sufficient evidence to place

Defendant Tayal within the heart of the larger conspiracy.

Access to Attorney-Client Conversations

       Third, Defendant argues that he should be granted a new trial because the Court denied a

joint motion by several Defendants for access to wiretapped conversations between Defendant

Babubhai Patel and his business attorney, Christopher Pencak. These conversations were not used

by the government as they were deemed by a government “filter team” to not fall within any

exception to attorney-client privilege. Magistrate Judge Majzoub also conducted in camera review

of the wiretapped calls and concluded that they contained no exculpatory evidence and did not fall

into any exception of attorney-client privilege. Defendant suggests that evidence that “separate[d]”

Tayal from Babubhai Patel would have been exculpatory; however, as noted above, review by

Magistrate Majzoub determined that there was no exculpatory evidence to be found within the

privileged calls.

Additional Claims Made in Motion to Amend

       Defendant makes a Motion to Amend [673] his Motion for Judgment of Acquittal, arguing

that newly-discovered evidence indicates that the Government’s forensic accountant presented


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inaccurate information at trial related to the amounts paid by Grand River Pharmacy to McKesson

Corporation, a provider of pharmaceuticals. Defendant Tayal posits that this alleged error would

have made the income of Grand River Pharmacy “more closely within a range of what would

otherwise appear to be an expected gross profit number . . .” of a typical pharmacy.

       However, the evidence referenced by Defendant Tayal was available to his trial counsel and

could have been used to cross-examine the Government’s forensic accountant. Moreover, the high

profits of Grand River Pharmacy was a minor piece of evidence presented to the jury regarding

Tayal’s involvement in the conspiracy to commit health care fraud. As noted above, there were a

number of pieces of evidence that connected Defendant Tayal to the conspiracy and were sufficient

for a rational trier of fact to conclude that all elements of the crime of conspiracy to commit health

care fraud had been proven beyond a reasonable doubt.

                                            Conclusion

       For the reasons stated above, IT IS ORDERED that Defendant’s Motion to Amend [673]

is GRANTED. Defendant’s Motion for Judgment of Acquittal [596] is DENIED.

       SO ORDERED.

                                               s/Arthur J. Tarnow
                                               ARTHUR J. TARNOW
                                               SENIOR U.S. DISTRICT JUDGE
Dated: January 29, 2013




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